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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  TERESA TODERO, as Special Administrator)
  of the Estate of CHARLES TODERO,       )
                                         )
                             Plaintiff,  )
                                         )
                  v.                     ) Cause No. 1:17-cv-1698-JPH-MJD
                                         )
  CITY OF GREENWOOD, BRIAN BLACKWELL, )
  RENEE ELLIOTT and ELIZABETH LAUT,      )
                                         )
                             Defendants. )


                                    NOTICE OF SETTLEMENT

         Come now the City of Greenwood, Renee Elliott and Elizabeth Laut (the Greenwood

  Defendants), by counsel, and notify the court that the parties have agreed to a settlement of this

  cause that fully and finally resolves all remaining claims without the need for a trial. On behalf of

  all parties, the Greenwood Defendants thus request that the court vacate all remaining deadlines

  and the October 25, 2021, trial setting.

                                                Respectfully submitted,

                                                STEPHENSON MOROW & SEMLER


                                                s/ James S. Stephenson
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                                                and Elizabeth Laut
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 18, 2021, a copy of this document was filed electronically.

  Notice of this filing will be sent to the following persons by operation of the court's electronic

  filing system. Parties may access this filing through the court's system.

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